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Northern Virginia Citizens Association

Plaintiff
Case No.: 8:22-cv-03336-GLS
VS.
Federal Highway Administration, et al.
Defendant(s)
AFFIDAVIT OF SERVICE

I, Vincent Piazza, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Complaint for Declaratory and Injunctive Relief; Civil Cover
Sheet; and Disclosure of Corporate Interest in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 01/06/2023 at 11:21 AM, I served U.S. Attorney's Office for the District of Maryland c/o Civil Process Clerk at 36 South
Charles Street, 4th Floor, Baltimore, Maryland 21201 with the Summons; Complaint for Declaratory and Injunctive Relief; Civil
Cover Sheet; and Disclosure of Corporate Interest by serving Anna Jones, Civil Process Clerk, authorized to accept service.

Anna Jones is described herein as:

Gender: Female Race/Skin: Black Age: 35 Weight: 250 Height: 5'7" Hair: Black Glasses: No

I declare under penalty of periury that this information is true and correct.

0 |R |.

Execiited On! . f=) fz) Vincent Piazza
= Client Ref Number:N/A
= Job #: 1612617
[=] Heth

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050

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AO 440 (Rev. 06/12). Summons ina Civil. Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [el

Northern Virginia Citizens Association
P.O. Box 302
McLean, VA 22101

Mv.

Federal Highway Administration; Stephanie Pollack;
Gregory Murrill; Maryland Department of
Transportation; James F. Ports, Jr.

Civil Action No. 8:22-cv-03336-GLS:

Defendant(s)

SUMMONS IN A CIVIL ACTION

. reds ss . Federal Highway Administration, Acting Administrator Stephanie Pollack; and Maryland
To: (Defendant's name and address) Division Administrator Gregory Murrill

c/o Civil Process Clerk

U.S. Attorney's. Office for the District of Maryland

36 S. Charles Street, 4th Floor

Baltimore MD 21201

A lawsuit has been filed against you.

Within 21 days after service of this summons.on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States deseribed in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion. under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: . .
_ ° David C. Tobin, Esa.

Tobin, O'Connor & Ewing
5335 Wisconsin Avenue, N.W. Suite 700
Washington, D.C. 20015

If you fail to respond, judgment by default will be entered against you for the relief demanded in the eamnlaint.
You also must file your answer or motion with the court.

CLERK OF COURT

12/27/2022

: Si gnature of C tork or Deputy Clerk -
